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Piaintiff
vs.
cR. No. 04-20471-[)
NAKEciA PoRTER
Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date and requested a
change of plea hearing date.

The Court granted the request and reset the trial date to September 6, 2005 with
a change of g|ea hearing date of Frida§¢l September 2l 2005l at 9:15 a.m., in
Court_room 3. 9th F|oor of the Federal Building, Memphis, TN.

The period from August 12, 2005 through Septernber16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

IT |S SO ORDERED this d § day of Ju|y, 2005.

B§:N|CE B. D§NALD

UN|TED STATES D|STR|CT JUDGE

   

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UNITED sTATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
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Honorable Bernice Donald
US DISTRICT COURT

